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                           IN THE LINITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                      LUBBOCK DIVISION

FLINT AVENUE, LLC,                               )
                                                 )
                       Plaintifl                 )
                                                  )
                                                  )
                                                 )
U.S. DEPARTMENT OF LABOR, & I/..                 )
                                                 )
                       Defendants.               )         Civil Action No. 5:24-CV-130-C

                                          .IUD(;MENT

       In accordance with the Court's Order on even date granting Ptaintiff s Motion for

Summary Judgment [ECF No. 40] and denying the Defendants' Cross-Motion for Summary

Judgment [ECF No. 45],

       IT IS ORDERED, ADJUDGED, and DECREED that final judgment is entered in

favor of Plaintiif Flint Avenue, LLC, and against the Defendants United States Department of

Labor, Julie Su in her official capacity, and Jessica Looman in her official capacity. The 2024

Final Rule is herebv SET ASIDE and VACATED
                   ',"/.
       Signed this -7l day ofDecember, 2024.

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                                             S            R.       INGS
                                                      IOR       ITED STATES         STRICT JUDGE
